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                                      RI ([ourt
                                           I ALof jfeberal (!Claims
                                        No. 14-1241C
                                  (Filed December 2, 2015)
                                 NOT FOR PUBLICATION


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                                          *                        DEC - 2 ~~15
                                          *
THOMAS E. BOWLES III,                     *                       U.S. COURT OF
                                          *                      FEDERAL CLAIMS
                    Plaintiff,            *
             v.                           *
                                          *
THE UNITED STATES,                        *
                                          *
                    Defendant.            *
                                          *
* * * * * * * * * * * * * * * * * *


                                         ORDER

       On November 2, 2015, the Clerk's office received from plaintiff a document
requesting reconsideration of the July 31, 2015 decision to dismiss this case for lack
of subject-matter jurisdiction. The document was not filed when received, as the
twenty-eight day time period for filing reconsideration motions, see Rule 59(b)(2) of
the Rules of the United States Court of Federal Claims (RCFC), dated from the July
31, 2015 Entry of Judgment, had long expired. The Clerk is directed to return the
document to Mr. Bowles.

        In any event, the argument made in this document --- that the alleged
demotion of one of the judges whose actions were the subject of the complaint
constitutes an intervening change in controlling law --- is no basis to reconsider the
dismissal of this case under RCFC 59. As was explained in the July 31, 2015
decision, as well as in the October 22, 2015 Order denying plaintiffs two previous
requests for reconsideration, our court has not been given jurisdiction over
complaints concerning the actions of state judges or seeking a review of decisions of
other federal judges. Bowles v. United States, 2015 WL 4710258, at *3 (Fed. Cl.
July 31, 2015); Bowles v. United States, 2015 WL 6424976, at *1 (Fed. Cl. Oct. 22,
2015). The controlling law that would need to change to provide us with this
jurisdiction would have to be contained in an act of Congress or a precedential
decision of the Federal Circuit or Supreme Court, and none of these sources has
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been identified by plaintiff. Thus, even if Mr. Bowles's paper were timely filed, the
request for reconsideration would still be denied.

IT IS SO ORDERED.




                                       Judge




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